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                                                                 Wednesday, 21 October, 2020 04:31:09 PM
                                                                             Clerk, U.S. District Court, ILCD

                              UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF ILLINOIS
                                     PEORIA DIVISION

DENNIS LEE HOGAN,                    )
                                     )
               Petitioner-Defendant, )
                                     )
          v.                         )               Case No. 17-20039-JES
                                     )
UNITED STATES,                       )
                                     )
               Respondent-Plaintiff. )


                                   ORDER & OPINION
       This cause is before the Court on Petitioner Dennis Lee Hogan’s Motion to Vacate, Set

Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255 (d/e 45). Hogan alleges that his

conviction for being a felon in possession of a firearm in violation of 18 U.S.C. § 922(g)(1) is

invalid in light of the Supreme Court’s recent decision in Rehaif v. United States, 139 S. Ct. 2191

(2019). For the reasons below, the Court finds Hogan’s challenge is barred by the collateral

attack waiver in his plea agreement and DISMISSES his § 2255 Motion

                                       I. BACKGROUND

       On July 12, 2017, a federal grand jury in the Central District of Illinois returned an

indictment charging Hogan with being a felon in possession of a firearm in violation of 18

U.S.C. § 922(g)(1). At the time of the offense, Hogan had two prior felonies: In 2001, when he

was a juvenile, Hogan was convicted of Attempted Criminal Sexual Assault, Criminal Sexual

Abuse, and Unlawful Restraint in Illinois. PSR ¶ 28 (d/e 36). This conviction later led to

another guilty plea and felony conviction in Illinois when Hogan failed to register as a sex

offender in 2014. Id. ¶ 34.




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          In August 2018, Hogan pled guilty to one count of being a felon in possession of a

firearm in violation of 18 U.S.C. § 922(g)(1) in August 2018. See Plea Agreement (d/e 21);

August 20, 2018 Minute Entry. In the plea agreement he expressly waived his right to collateral

review:

          Except as otherwise specified in this plea agreement, in exchange for the United States’
          recommendations and/or concessions in this agreement, the defendant waives all rights to
          appeal and/or collaterally attack his conviction and sentence. The term “sentence” means
          any term of imprisonment, term of supervised release, term of probation, supervised
          release condition, fine, forfeiture order, and/or restitution order and includes the manner
          and/or method the district court uses to determine, impose, announce, and/or record the
          sentence.

          The defendant’s waiver of appeal and collateral attack rights includes, but is not limited
          to, the waiver of the right to bring any claim that (A) the statute(s) under which the
          defendant is convicted or sentenced is unconstitutional, and/or (B) the conduct to which
          the defendant has admitted does not fall within the scope of the statute(s).

Plea Agreement ¶¶ 18-19 (d/e 21). In exchange for pleading guilty, the government agreed to

move for an additional one-level reduction in offense level and to recommend a sentence within

the applicable sentencing guideline range. Id. ¶¶ 11, 13.

          The United States Probation Office prepared the Presentence Investigation Report and

calculated a total offense level of 25 and a criminal history category of III, resulting in a

guideline imprisonment range of 70 to 87 months. PSR 67 (d/e 36). On January 15, 2019, this

Court sentenced Hogan to 71 months’ imprisonment. Judgment (d/e 38). Hogan did not file a

direct appeal.

          Hogan has now filed this Motion to Vacate, Set Aside, or Correct Sentence pursuant to

28 U.S.C. § 2255 (d/e 45). He claims his conviction cannot stand following the Supreme Court’s

decision in Rehaif v. United States, 139 S. Ct. 2191 (2019), because the grand jury did not find,

and the Indictment did not charge, that he knew that he had a prior felony conviction at the time

he possessed the firearm underlying this case.

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       The government filed its response (d/e 50) and argues that Hogan’s claim is procedurally

defaulted, barred by the collateral attack waiver in his plea agreement, not cognizable in a

postconviction proceeding, and fails on the merits. Hogan has filed a reply (d/e 51).

                                        II. DISCUSSION

       In his Motion, Hogan argues that his § 922(g)(1) conviction is invalid because the

indictment did not comply with the requirements of Rehaif v. United States, 139 S. Ct. 2191

(2019). Under 18 U.S.C. § 922(g), it is unlawful for any person in one of nine relevant

categories “to ship or transport in interstate or foreign commerce, or possess in or affecting

commerce, any firearm or ammunition; or to receive any firearm or ammunition which has been

shipped or transported in interstate or foreign commerce.” Id. Under § 924(a)(2), “whoever

knowingly violates” § 922(g) "shall be fined as provided in this title, imprisoned not more than

10 years, or both.” In Rehaif, Supreme Court held that to be guilty under § 922(g) an individual

must know not only that he possessed the firearm or ammunition, but also that he belonged to the

relevant category of people barred from possessing a firearm. 139 S. Ct. at 2196. This is

because the “knowingly” mens rea under § 924(a)(2) extends to both the element of possession

of the firearm or ammunition and the element of the defendant’s status in the relevant category.

Id. Here, the relevant category that Hogan was convicted under was a person “who has been

convicted in any court of a crime punishable by imprisonment for a term exceeding one year.”

See 18 U.S.C. § 922(g)(1).

       The government has raised multiple grounds for this Court to dismiss Hogan’s petition.

However, the Court only need address one: Hogan’s claim is squarely barred by his collateral

attack waiver. Because the right to collaterally attack a conviction or sentence is a statutory

creation, it “can be waived.” United States v. Wilkozek, 822 F.3d 364, 367 (7th Cir. 2016).



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Moreover, “[i]t is well-settled that waivers of direct and collateral review in plea agreements are

generally enforceable.” Hurlow v. United States, 726 F.3d 958, 964 (7th Cir. 2013); see Oliver

v. United States, 951 F.3d 841, 846 (7th Cir. 2020) (“Finality matters in plea agreements,

especially when the parties have negotiated for it expressly.”).

       The Seventh Circuit has “recognized only a ‘few narrow and rare’ grounds for not

enforcing a voluntary and effectively-counseled waiver of direct appeal or collateral review,”

including “if a district court relied on a ‘constitutionally impermissible factor’ like race or

gender; if the sentence exceeded the statutory maximum; or if the proceedings lacked a

‘minimum of civilized procedure.’” Oliver, 951 F.3d at 844 (7th Cir. 2020); United States v.

Campbell, 813 F.3d 1016, 1018 (7th Cir. 2016). None of these circumstances are present here.

Moreover, Hogan’s challenge here is squarely covered by the terms of the waiver, which waived

his right to bring a challenge that “the conduct to which the defendant has admitted does not fall

within the scope of the statute(s).” Plea Agreement ¶ 19 (d/e 21).

       In his reply Hogan argues, notwithstanding the waiver, that his conviction cannot stand

because he is being punished “for a crime that does not exist, per statute, according to law.”

Reply at 6 (d/e 51). Hogan’s argument appears to rely on an overly-broad interpretation of the

Supreme Court’s decision in Rehaif. In Rehaif, the Supreme Court did not hold that § 922(g)

convictions were unconstitutional or otherwise invalid. Rather the Supreme Court interpreted

the statute and held that the correct interpretation of § 922(g) included the element that an

individual must know not only that he possessed the firearm or ammunition, but also that he

belonged to the relevant category of people barred from possessing a firearm. Rehaif, 139 S. Ct.

at 2196. Moreover, the Seventh Circuit has made clear that Rehaif did not impose any further

willfulness requirement. See United States v. Maez, 960 F.3d 949, 954 (7th Cir. 2020).



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Accordingly, Hogan’s conviction continues to be under a constitutionally valid statute and the

crime of which he was convicted does indeed exist.

       In his reply, Hogan also argues that the collateral attack waiver in his plea agreement

does not apply because if his indictment was invalid, then the Court did not have jurisdiction.

However, the Seventh Circuit has repeatedly held that “indictment defects are never

jurisdictional so they may be waived if not properly presented.” United States v. Maez, 960 F.3d

949, 956 (7th Cir. 2020) (citing United States v. Muresanu 951 F.3d 833, 837–39 (7th Cir. 2020);

United States v. Cotton, 535 U.S. 625, 631 (2002)). Moreover, in Oliver, the Seventh Circuit

rejected the petitioners’ arguments that a waiver should not be enforced because they raised a

jurisdictional challenge or because enforcing the waivers would result in a miscarriage of justice.

951 F.3d at 844. Accordingly, the Court finds Hogan’s collateral attack waiver precludes his

challenge here.

                         III. CERTIFICATE OF APPEALABILITY

       If Petitioner seeks to appeal this decision, he must first obtain a certificate of

appealability. See 28 U.S.C. § 2253(c) (providing that an appeal may not be taken to the court of

appeals from the final order in a § 2255 proceeding unless a circuit justice or judge issues a

certificate of appealability). A certificate of appealability may issue only if Petitioner has made a

“substantial showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). Where a

claim is resolved on procedural grounds, as it was here, a certificate of appealability should issue

only if reasonable jurists could disagree about the merits of the underlying constitutional

claim and about whether the procedural ruling was correct. Flores-Ramirez v. Foster, 811 F.3d

861, 865 (7th Cir. 2016) (citing Slack v. McDaniel, 529 U.S. 473, 484 (2000)). Here, in light of

Seventh Circuit precedent, the Court does not find that reasonable jurists could disagree about



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whether the procedural ruling is correct. Accordingly, the Court declines to issue a certificate of

appealability.

                                      IV. CONCLUSION

       For the reasons stated, Petitioner Dennis Lee Hogan’s Motion to Vacate, Set Aside or

Correct Sentence Under 28 U.S.C. § 2255 (d/e 45) is DISMISSED as barred by the collateral

attack waiver in his plea agreement. The Court DECLINES to issue a certificate of

appealability.

       This case is CLOSED. The Clerk is DIRECTED and enter the Judgment in favor of

Respondent and to close civil case 20-cv-2186.



Signed on this 21st day of October 2020.

                                              /s/ James E. Shadid
                                              James E. Shadid
                                              United States District Judge




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